         Case 1:21-mj-00500-GMH Document 13 Filed 08/02/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :             Case No. 1:21-mj-500
                                    :
 ALAN WILLIAM BYERLY,               :
                                    :
       Defendant.                   :
____________________________________:

                  GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                     PURUSANT TO LOCAL CRIMINAL RULE 49

       The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following exhibits that were provided to the Court and defense

counsel on August 2, 2021 via USAfx, in relation to the Government’s Motion and Memorandum

for Pretrial Detention (ECF No. 7). These exhibits will be offered into evidence during the

evidentiary hearing to be scheduled by the Court. Because Exhibits 1-3 and 9 are video clips, they

are not in a format that readily permits electronic filing on CM/ECF.

       The proposed exhibits are as follows:

       1.      Government Exhibit 1 is a clip from the body-worn camera of an officer with the

Metropolitan Police Department. The clip is approximately 1 minute, 14 seconds. The events

depicted in the exhibit commenced at approximately 2:10:31 p.m. EST on January 6, 2021.

       2.      Government Exhibit 2 is a clip from the body-worn camera of an officer with the

Metropolitan Police Department. The clip is approximately 41 seconds. The events depicted in the

exhibit commenced at approximately 2:10:59 p.m. EST on January 6, 2021.
         Case 1:21-mj-00500-GMH Document 13 Filed 08/02/21 Page 2 of 3




       3.      Government Exhibit 3 is a clip from the body-worn camera of an officer with the

Metropolitan Police Department. The clip is approximately three minutes, 10 seconds. The events

depicted in the exhibit commenced at approximately 2:09:40 p.m. EST on January 6, 2021.

       4.      Government Exhibits 4, 5, 6, 7 and 8 are screenshots of images captured in Exhibit

1, that occurred at 2:10:54 p.m. EST, 2:10:55 p.m. EST, 2:11:00 p.m. EST, all on January 6, 2021.

       5.      Government Exhibit 9 is a clip obtained from the Associated Press. The contents

of the video are captured in open source video downloaded from

https://nypost.com/2021/01/08/trump-supporters-attack-associated-press-photographer-in-dc/ and

the photographer’s Instagram account:

https://www.instagram.com/tv/CJxKMArpN0_/?utm_source=ig_embed&ig_rid=b4b2c77a-fb94-

4e95-8ca5-519e50fba916. The clip is approximately 41 seconds. The events depicted in in the

exhibit occurred in the early afternoon of January 6, 2021

       6.      Government Exhibits 10, 11, 12 and 13 are screenshots of images captured in

Exhibit 9.




                                                2
         Case 1:21-mj-00500-GMH Document 13 Filed 08/02/21 Page 3 of 3




        If the Court accepts these proposed exhibits into evidence at the detention hearing in this

matter, the United States takes the position that the entered exhibits should be promptly released

to the public.

                                       Respectfully submitted,

                                       CHANNING D. PHILLIPS
                                       ACTING UNITED STATES ATTORNEY
                                       D.C. Bar No. 415793

                                       /s/ ANITA EVE________
                                       ANITA EVE (DETAILEE)
                                       ASSISTANT UNITED STATES ATTORNEY
                                       Pennsylvania Bar No. 45519
                                       U.S. Attorney’s Office for the Eastern District of
                                       Pennsylvania
                                       615 Chestnut Street, Suite 1250
                                       Philadelphia, PA 19106




                                                 3
